                               United States Court of Appeals
                                      For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                     St. Louis, Missouri 63102
                                                                             VOICE (314) 244-2400
Michael E. Gans
                                                                               FAX (314) 244-2780
 Clerk of Court
                                                                             www.ca8.uscourts.gov

    TO:        Mr. Gary Leistico
     cc:       Ms. Collette Lucille Adkins
               Ms. Jayne Eliza Esch
               Mr. Peter J. Farrell
               Mr. Marc D. Fink
               Mr. Oliver J. Larson

FROM:          Clifford R. Jackson

DATE:          June 14, 2023

   RE:         23-1572 Center for Biological Diversity, et al v. MN Trappers Association, et al

        Your brief in the above-case has been received. In reviewing the brief for filing, we noted
the deficiencies shown below. Your brief cannot be filed until the defects are corrected. Please
correct these defects within five days and resubmit the brief electronically for final review and
processing. See 8th Cir. R. 28A(b). If the resubmitted brief passes review, you will receive a
Notice of Docket Activity informing you that the brief has been filed. Upon receipt of this notice,
you have five days to submit the paper copies of the brief and addendum required by 8th Cir. R.
28A(d) and (g)(4). Please contact us if you have any questions.


   X      The caption on the cover page should reflect the official caption on the docket. The full
or short caption may be used.


   X     REFERENCES TO THE RECORD. See 8th Cir. R. 28A(j)
          x   References to the record in civil cases must be made to the Appendix page
       number(s) AND the district court docket number, and page number of the document
       (App.       R. Doc.         , at       .)

 Please use this format for your dual references. Please also include an accompanying
appendix reference for the dual references to the district court docket and the addendum.


       Again, your brief cannot be filed until you correct these defects. Failure to correct them
may result in the issuance of an order to show cause why the appeal should not be dismissed (for
appellant's opening brief) or why you should not be barred from filing the brief (for briefs other
than appellant's opening brief). Thank you for your prompt attention to this matter. If you have
any questions, please feel free to contact us.




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